          Supreme Court of Florida
                             ____________

                          No. SC2024-0323
                            ____________

                        KENGI N. MERRITT,
                            Petitioner,

                                  vs.

        SECRETARY, DEPTARTMENT OF CORRECTIONS,
                       Respondent.

                           August 22, 2024

PER CURIAM.

     Kengi N. Merritt, an inmate in state custody, filed a pro se

petition for writ of habeas corpus with this Court. 1 We denied the

petition, expressly retained jurisdiction, and directed Merritt to

show cause why sanctions should not be imposed against him for

his abuse of the Court’s limited resources. See Merritt v. Sec’y,

Dept. of Corr., No. SC2024-0323, 2024 WL 1827235 (Fla. Apr. 26,

2024); Fla. R. App. P. 9.410(a) (Sanctions; Court’s Motion). Having

received no response to the show cause order, we find that Merritt


     1. We have jurisdiction. See art. V, § 3(b)(9), Fla. Const.
has failed to show cause why he should not be pro se barred, and

we sanction him as set forth below.

     Merritt was convicted in the Circuit Court of the Fifteenth

Judicial Circuit (Palm Beach County) on three counts of sexual

battery on a person less than 12 years of age, two counts of

attempted sexual battery on a person less than 12 years of age, two

counts of lewd or lascivious molestation, and one count of lewd or

lascivious exhibition (case number 502010CF008673AXXXMB). He

was sentenced in 2011 to life imprisonment on the sexual battery

convictions and to lesser sentences on the remaining counts. The

Fourth District Court of Appeal affirmed the judgments and

sentences in 2013. Merritt v. State, 109 So. 3d 306 (Fla. 4th DCA

2013).

     Since 2022, Merritt has filed six petitions for writ of habeas

corpus with this Court, all challenging his convictions and

sentences in case number 502010CF008673AXXXMB. We have

never granted Merritt the relief sought in any of his filings, all of

which we have dismissed as unauthorized or denied. Merritt’s

habeas petition in this case is no exception. In the petition, Merritt

claimed that the trial court lacked subject matter jurisdiction over


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his case due to a defective charging instrument, which was identical

to the claim he raised in two previous habeas petitions. We

therefore denied the petition as successive and directed Merritt to

show cause why he should not be barred from filing any further pro

se requests for relief.

     Merritt did not respond to the order to show cause and, in so

doing, has failed to offer any justification for his repeated misuse of

this Court’s limited judicial resources. Thus, we find that he has

failed to show cause why sanctions should not be imposed.

Therefore, based on Merritt’s history of filing multiple pro se

petitions and requests for relief that were meritless or otherwise

inappropriate for this Court’s review, we now find that he has

abused the Court’s limited judicial resources. See Pettway v.

McNeil, 987 So. 2d 20, 22 (Fla. 2008) (explaining that this Court

has previously “exercised the inherent judicial authority to sanction

an abusive litigant” and that “[o]ne justification for such a sanction

lies in the protection of the rights of others to have the Court

conduct timely reviews of their legitimate filings”). It is apparent

that if no action is taken, Merritt will continue to burden the

Court’s resources. We further conclude that Merritt’s habeas


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petition filed in this case is a frivolous proceeding brought before

the Court by a state prisoner. See § 944.279(1), Fla. Stat. (2023).

     Accordingly, we direct the Clerk of this Court to reject any

future pleadings or other requests for relief submitted by Kengi N.

Merritt that are related to case number 502010CF008673AXXXMB,

unless such filings are signed by a member in good standing of The

Florida Bar. Furthermore, because we find Merritt’s petition to be

frivolous, we direct the Clerk of this Court, pursuant to section

944.279(1), Florida Statutes (2023), to forward a copy of this

opinion to the Florida Department of Corrections’ institution or

facility in which Merritt is incarcerated.

     No motion for rehearing or clarification will be entertained by

this Court.

     It is so ordered.

MUÑIZ, C.J., and CANADY, LABARGA, COURIEL, GROSSHANS,
FRANCIS, and SASSO, JJ., concur.

Original Proceeding – Habeas Corpus

Kengi N. Merritt, pro se, Arcadia, Florida,

     for Petitioner

No appearance for Respondent



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